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                     Exhibit 25
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              Saudi Committee in Support of the Intifada al Quds

                 Payments to the Families of                      HAMAS Suicide Bombers




    Neve Yamin             Dolphinarium                 Sbarro                      Ben Yehuda                 Emmanuel
     Bombing                Bombing                    Bombing                       Bombings                   Bombing

   March 28, 2001            June 1, 2001            August 9, 2001            December 1, 2001              December 12, 2001



     Fadi Amer              Sa’id Houtari         Izz al-Din al-Masri              Nabil Halabiya             Assem Rihan




PX625, PX624, PX627, PX667, PX663                                                                                          97
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Saudi Committee’s Payments                                                           Neve Yamin Bombing
to the Families of HAMAS Operatives                                                    March 28, 2001
Responsible for 12 Attacks
in this Case
                                                                       Fadi Amer              Ayman          Ra'ed
                                                                                             Halawah        Houtari

                                                                                     Dolphinarium Bombing
                                                                                         June 1, 2001




                                                                          Sa’id               Ayman         Ra'ed
                                                                         Houtari             Halawah        Houtari


     SAUDI COMMITTEE                                                              Sbarro Pizzeria Bombing
           in Support                                                                  August 9, 2001
     of the Intifada al Quds



                                                                        Izz al-Din            Ayman       Jamal Abu
                                                                         al-Masri            Halawah        al-Hija
                           PX624, PX625, PX627, PX635, PX687, PX694                                             98
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Saudi Committee’s Payments                                                          Ben Yehuda Bombings
to the Families of HAMAS Operatives                                                   December 1, 2001
Responsible for 12 Attacks
in this Case

                                                                                               Nabil
                                                                                              Halabiya

                                                                               Emmanuel Settlement Bombing
                                                                                   December 12, 2001




                                                                                     Assem             Nasr al-Din
                                                                                     Rihan              Assida


     SAUDI COMMITTEE                                                            Park Hotel Bombing, Netanya
           in Support                                                                 March 27, 2002
     of the Intifada al Quds



                                                                       Muhanad               Muhanad             Nasser
                           PX667, PX663, PX713, PX710, PX614, PX615    al-Taher               Sharim            Yataima
                                                                                                                     99
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Saudi Committee’s Payments                                                  Bus No. 32A, Patt Junction, Jerusalem
to the Families of HAMAS Operatives                                                    June 18, 2002
Responsible for 12 Attacks
in this Case

                                                                                               Muhanad
                                                                                               al-Taher

                                                                                    Shooting Attack, Route 60
                                                                                       January 29, 2003




                                                                                                Hisham
                                                                                                 Hijazi


     SAUDI COMMITTEE                                                               Kiryat Arba Shooting Attack
           in Support                                                                     March 7, 2003
     of the Intifada al Quds



                                                                                                 Basel
                                                                                             al-Qawasmeh
                                             PX710, PX716, PX685                                                 100
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Saudi Committee’s Payments                                                     Bus No. 14A Bombing, Jerusalem
to the Families of HAMAS Operatives                                                     June 11, 2003
Responsible for 12 Attacks
in this Case
                                                                                                 Basel
                                                                                             al-Qawasmeh

                                                                                   Shooting Attack, Route 60
                                                                                        June 20, 2003




                                                                                     Hisham             Khaled Omar
                                                                                      Hijazi


     SAUDI COMMITTEE                                                            Bus No. 2 Bombing, Jerusalem
           in Support                                                                 August 19, 2003
     of the Intifada al Quds



                                                                                                Basel
                                   PX685, PX716, PX692,PX685                                al-Qawasmeh               101
